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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


  COMMONWEALTH OF
  MASSACHUSETTS, ATTORNEY
  GENERAL DANA NESSEL ON BEHALF
  OF THE PEOPLE OF THE STATE OF
  MICHIGAN, STATE OF ILLINOIS,
  STATE OF ARIZONA, STATE OF
  CALIFORNIA, STATE OF
  CONNECTICUT, STATE OF COLORADO,
  STATE OF DELAWARE, STATE OF
  HAWAI’I, STATE OF MAINE, STATE OF
  MARYLAND, STATE OF MINNESOTA,
  STATE OF NEW JERSEY, STATE OF
  NEW YORK, STATE OF NEVADA,
  STATE OF NEW MEXICO, STATE OF
  NORTH CAROLINA, STATE OF
  OREGON, STATE OF RHODE ISLAND,
  STATE OF VERMONT, STATE OF
                                                     Case No. 1:25-cv-10338
  WASHINGTON, and STATE OF
  WISCONSIN,

         Plaintiffs,

                       v.

  NATIONAL INSTITUTES OF HEALTH;
  MATTHEW MEMOLI, M.D., M.S., in his
  official capacity as Acting Director of the
  National Institutes of Health; U.S.
  DEPARTMENT OF HEALTH AND
  HUMAN SERVICES; and DOROTHY
  FINK, in her official capacity as Acting
  Secretary of the U.S. Department of Health
  and Human Services,

         Defendants.


                            DECLARATION OF KATHERINE DIRKS

       I, Katherine Dirks, an attorney admitted to practice before this Court, do hereby state the

following under penalty of perjury, pursuant to 28 U.S.C. § 1746:

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       1.      I am Deputy Chief of the Government Bureau in the Office of the Attorney

General for the Commonwealth of Massachusetts, and I appear on behalf of the Commonwealth

of Massachusetts in this action.

       2.      I submit this declaration in support of Plaintiff States’ Motion for a Temporary

Restraining Order, pursuant to Federal Rule of Civil Procedure 65.

       3.      The facts set forth herein are based upon my personal knowledge or a review of

the files in my possession.

       4.      I have attached to this declaration true and correct copies of publicly promulgated

or issued documents and factual declarations, as follows:

       5.      Attached hereto as Exhibit 1 is NIH Notice NOT-OD-25-068, available at

https://grants.nih.gov/grants/guide/notice-files/NOT-OD-25-068.html#_ftnref1.

       6.      Attached hereto as Exhibit 2 is OMB, Major Savings and Reforms: Budget of the

U.S. Government, Fiscal Year 2018 (2017) (excerpts), available at

https://www.govinfo.gov/content/pkg/BUDGET-2018-MSV/pdf/BUDGET-2018-MSV.pdf.

       7.      Attached hereto as Exhibit 3 is OMB, Major Savings and Reforms, Budget of the

U.S. Government, Fiscal Year 2020 (2019) (excerpts), available at

https://www.govinfo.gov/content/pkg/BUDGET-2020-MSV/pdf/BUDGET-2020-MSV.pdf.

       8.      Attached hereto as Exhibit 4 is NIH Notice NOT-OD-24-110, Notice of

Legislative Mandates in Effect for FY 2024, available at

https://grants.nih.gov/grants/guide/notice-files/NOT-OD-24-110.html.

       9.      Attached hereto as Exhibit 5 is a statement posted on social media by NIH on Feb.

9, 2025, available at https://x.com/NIH/status/1888004759396958263.




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       10.     Attached hereto as Exhibit 6 is a Why Should I Participate in a Clinical Trial?,

Nat’l Insts. of Health, https://www.nih.gov/health-information/nih-clinical-research-trials-

you/why-should-i-participate-clinical-trial (last visited Feb. 9, 2025).

       11.     Attached hereto as Exhibit 7 is a Declaration of Ken A. Dill, of the State

University of New York.

       12.     Attached hereto as Exhibit 8 is a Declaration of Rafael Jaime, of the United

Automobile, Aerospace and Agricultural Implement Workers of America, Local 4811.

       13.     Attached hereto as Exhibit 9 is a Declaration of Theresa A. Maldonado, of the

University of California.

       14.     Attached hereto as Exhibit 10 is a Declaration of Cassandra Mosely, of Colorado

State University.

       15.     Attached hereto as Exhibit 11 is a Declaration of Donald M. Elliman, Jr., of

Colorado Anschutz Medical Campus.

       16.     Attached hereto as Exhibit 12 is a Declaration of Justin Schwartz, of the

University of Colorado Bouder.

       17.     Attached hereto as Exhibit 13 is a Declaration of Dr. Pamir Alpay of the

Univresity of Connecticut.

       18.     Attached hereto as Exhibit 14 is a Declaration of Michael C. Crair of Yale

University.

       19.     Attached hereto as Exhibit 15 is a Declaration of Dr. Tony Allen, of Delaware

State University.

       20.     Attached hereto as Exhibit 16 is a Declaration of Miguel Garcia-Diaz, of the

University of Delaware.



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       21.     Attached hereto as Exhibit 17 is a Declaration of Dr. Gireesh Gupchup, of

Southern Illinois University.

       22.     Attached hereto as Exhibit 18 is a Declaration of Dr. Joseph T. Walsh, Jr., of the

University of Illinois System.

       23.     Attached hereto as Exhibit 19 is a Declaration of Denise Barton, of the University

of Massachusetts.

       24.     Attached hereto as Exhibit 20 is a Declaration of Dr. Bruce E. Jarrell, of the

University of Maryland, Baltimore.

       25.     Attached hereto as Exhibit 21 is a Declaration of Dr. Darryl J. Pines, of the

University of Maryland, College Park.

       26.     Attached hereto as Exhibit 22 is a Declaration of Ryan Low, of the University of

Maine System.

       27.     Attached hereto as Exhibit 23 is a Declaration of Arthur Lupia, of the University

of Michigan.

       28.     Attached hereto as Exhibit 24 is a Declaration of Douglas A. Gage, Ph.D., of

Michigan State University.

       29.     Attached hereto as Exhibit 25 is a Declaration of Ezemanari M. Obasi, Ph.D., of

Wayne State University.

       30.     Attached hereto as Exhibit 26 is a Declaration of Jennifer Redford, of Princeton

University.

       31.     Attached hereto as Exhibit 27 is a Declaration of J. Michael Gower, of the State

University of New Jersey (“Rutgers”).




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       32.     Attached hereto as Exhibit 28 is a Declaration of James Paul Holloway of the

University of New Mexico.

       33.     Attached hereto as Exhibit 29 is a Declaration of Gloria J. Walker, of Nevada

State University.

       34.     Attached hereto as Exhibit 30 is a Declaration of David W. Hatchett, of the

University of Nevada, Las Vegas.

       35.     Attached hereto as Exhibit 31 is a Declaration of Ben Friedman, of the State

University of New York.

       36.     Attached hereto as Exhibit 32 is a Declaration of Peter Barr-Gillespie, Ph.D., of

Oregon Health and Science University.

       37.     Attached hereto as Exhibit 33 is a Declaration of Dr. Bethany Diane Jenkins, of

the University of Rhode Island.

       38.     Attached hereto as Exhibit 34 is a Declaration of Dr. Greg Hirth, of Brown

University.

       39.     Attached hereto as Exhibit 35 is a Declaration of Todd Conklin, of Care New

England Health System.

       40.     Attached hereto as Exhibit 36 is a Declaration of Bharat Ramratnam, M.D., of

Lifespan Corporation d/b/a Brown University Health.

       41.     Attached hereto as Exhibit 37 is a Declaration of Katherine Tracy, of the

University of Nevada.

       42.     Attached hereto as Exhibit 38 is a Declaration of Kirk Dombrowski, of the

University of Vermont and State Agricultural College.




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         43.   Attached hereto as Exhibit 39 is a Declaration of Mari Ostendorf, of the

University of Washington.

         44.   Attached hereto as Exhibit 40 is a Declaration of Leslie Anne Brunelli, of

Washington State University.

         45.   Attached hereto as Exhibit 41 is a Declaration of Dorota Grejner-Brzezinska, of

the University of Wisconsin-Madison.

         46.   Attached hereto as Exhibit 42 is a Declaration of Kristian O’Connor, of the

University of Wisconsin-Milwaukee.

         47.   Attached hereto as Exhibit 43 is a Declaration of Jeni Kitchell, of California State

University.



Dated:         February 10, 2025
               Boston, MA


                                             /s/ Katherine Dirks
                                             Katherine Dirks
                                             Deputy Chief, Government Bureau
                                             Office of the Attorney General, Massachusetts




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                               CERTIFICATE OF SERVICE

         I, Chris Pappavaselio, certify that on February 10, 2025, I provided a copy of the
foregoing document and its attachments to the following individuals at the U.S. Department of
Justice:

       Eric J. Hamilton
       Deputy Assistant Attorney General, Federal Programs Branch
       eric.hamilton@usdoj.gov

       Alex Haas
       Co-Director, Federal Programs Branch
       alex.haas@usdoj.gov

       Diane Kelleher
       Co-Director, Federal Programs Branch
       diane.kelleher@usdoj.gov

       John Griffiths
       Co-Director, Federal Programs Branch
       john.griffiths@usdoj.gov

       Rayford Farquhar
       Chief, Defensive Litigation, Civil Division
       U.S. Attorney’s Office for the District of Massachusetts
       rayford.farquhar@usdoj.gov

                                            /s/ Chris Pappavaselio
                                            Chris Pappavaselio
                                            Assistant Attorney General




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